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                         United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


Juliana Recino, on behalf of herself and
all others similarly situated                               Civil Action No. 23cv0750-MMA-MSB

                                               Plaintiff,
                                        V.
Aya Healthcare, Inc., a California                           JUDGMENT IN A CIVIL CASE
Corporation; Aya Healthcare Services,
Inc., a California Corporation
                                             Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
the Court DISMISSES this action without prejudice. Accordingly, there will be no forthcoming motion
to dismiss to which Plaintiff may oppose and the Court declines to enter an order recognizing that
Plaintiff has maintained any such right. Case is now closed.




Date:          10/2/23                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ A. Santiago
                                                                                  A. Santiago, Deputy
